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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NOS. 15-CR-00176-TLN &
                                                                    15-CR-00242-LJO-SKO
12                                 Plaintiff,
                                                          STIPULATION REGARDING EXCLUDABLE
13                            v.                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                           -------- FINDINGS AND ORDER
                                                          [PROPOSED]
14   VUTHIYA TIM,
     BOONE KHOONSRIVANG, &                                DATE: December 10, 2015
15   MEGHAN PARADIS,                                      TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
16                                 Defendants.
17

18                                                STIPULATION

19          1.      To clarify the record, the parties submit the following Stipulation Regarding Excludable

20 Time Period Under the Speedy Trial Act and Proposed Findings and Order.

21          2.      On November 10, 2015, the Court entered an Amended Minute Order, vacating the

22 hearing date and setting the matter in front of Judge Nunley on December 10, 2015. The Court excluded

23 time pursuant to Local Code T4 from November 10, 2015, until December 10, 2015, finding that the

24 ends of justice served by taking such action outweigh the best interest of the public and the defendant in

25 a speedy trial. Although the Court made that finding, it did not expressly include a factual basis in

26 support of that finding.

27          3.      The parties seek to provide a factual basis at this time to ensure that the Court’s T-4

28 exclusion is sustained. Specifically, the parties agree and stipulate, and request that the Court find the

      STIPULATION RE: SPEEDY TRIAL ACT; [P------
                                           ROPOSED]
                                                          1
      FINDINGS AND ORDER
             Case 2:15-cr-00176-TLN Document 54 Filed 11/19/15 Page 2 of 3


 1 following:

 2                a)      The government has represented that the discovery associated with this case

 3        includes disks worth of data, containing video footage, photographs and other documents. All of

 4        this discovery has been either produced directly to counsel and/or made available for inspection

 5        and copying.

 6                b)      Counsel for defendants desire additional time to consult with their respective

 7        clients, and to review and analyze the produced discovery.

 8                c)      Counsel for defendants believe that failure to grant the above-requested

 9        continuance would deny counsel the reasonable time necessary for effective preparation, taking

10        into account the exercise of due diligence.

11                d)      The government does not object to the continuance.

12                e)      Based on the above-stated findings, the ends of justice served by continuing the

13        case as requested outweigh the interest of the public and the defendant in a trial within the

14        original date prescribed by the Speedy Trial Act.

15                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16        et seq., within which trial must commence, the time period of November 10, 2015 to December

17        10, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

18        Code T4] because it results from a continuance granted by the Court at defendants’ request on

19        the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

20        best interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; [P------
                                          ROPOSED]
                                                        2
     FINDINGS AND ORDER
                 Case 2:15-cr-00176-TLN Document 54 Filed 11/19/15 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: November 18, 2015                                 BENJAMIN B. WAGNER
 6                                                            United States Attorney
 7
                                                              /s/ Rosanne L. Rust
 8                                                            Rosanne L. Rust
                                                              Assistant United States Attorney
 9

10 Dated: November 18, 2015                                   /s/ Michael Bigelow
                                                              Michael Bigelow
11
                                                              Counsel for Defendant
12                                                            Meghan Paradis

13
     Dated: November 18, 2015                                 /s/ Christopher Cosca
14                                                            Christopher Cosca
                                                              Counsel for Defendant
15                                                            Vuthiya Tim
16
                                    [PROPOSED] FINDINGS AND ORDER
17
            IT IS SO FOUND AND ORDERED this 18th day of November, 2015.
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21                                                     THE HONORABLE EDMUND F. BRENNAN
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIPULATION RE: SPEEDY TRIAL ACT; [P------
                                           ROPOSED]
                                                          3
      FINDINGS AND ORDER
